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IN THE UNITED STATES DISTRICT COURT um“ ‘L

 

FOR THE wEsTERN DISTRICT oF TENNESSEE g` H‘_ _
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CURTIS RAY HARRIS,
Plaintiff,
vs. No. 04-2971~B/V
ROBERT PERRISH, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Curtis Ray Harris, an inmate at the West Tennessee
State Penitentiary (“WTSP”),1 who was formerly confined at the Dyer
County Jail in Dyersburg, Tennessee, filed a pro §§ complaint
pursuant to 42 U.S.C. § 1983. The Clerk shall record the
defendants as Robert Perrish, Jeff Holt, and Lee Moore.

I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § l915(b), all prisoners bringing a civil action must pay
the full filing fee of $lSO required by 28 U.S.C. § l9l€(a). The in
forma pauperis statute, 28 U.S.C. § l915(a}, merely provides the
prisoner 'the opportunity tx) make a. “downpayment” of aa partial

filing fee and pay the remainder in installments.

 

1 The word “prison' is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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with Ru!e 58 andlor 79(3) FRCP on

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ln this case, plaintiff has not properly completed and
submitted both an ip forma pauperis affidavit and a prison trust

fund account statement showing:

l. the average monthly deposits, and

2. the average monthly balance for the six months prior to
submission of the complaint, and

3. the account balance when the complaint was submitted.

Pursuant to 28 U.S.C. § l9l5(b)(l), it is ORDERED that
plaintiff cooperate fully with prison officials in carrying out
this order. lt is ORDERED that within thirty (30) days of the
entry of this order plaintiff properly complete and file both an ip
fp;ma pauperis affidavit and a trust fund account statement showing
the above amounts. lt is further ORDERED that the trust fund
officer at plaintiff’s prison shall calculate a partial initial
filing fee equal to twenty percent (20%) of the greater of the
average balance in. or deposits to the plaintiff's trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. If the funds in plaintiff’s account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial

filing fee is paid in full.

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it is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff’s account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff’s account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner’s account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

lf plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. If still confined he shall provide the officials at the
new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

rl‘he Cler]< shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff’s

prison. The Clerk is further ORDERED to forward a copy of this

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order to the custodian of the plaintiff’s inmate trust account
complies with that portion of the PLRA pertaining to the payment of
filing fees.

The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2). The
Clerk shall not issue process or serve any papers in this case.
II. Analvsis of Plaintiff's Claims

The complaint asserts a number of unrelated claims concerning
the plaintiff’s confinement at the Dyer County Jail. Harris
alleges that he was denied eye examinations and treatment while
confined at the Jail. He also claims that he was denied law books,
his legal mail was confiscated, and he was not provided with
cleaning supplies.

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires
a federal court to dismiss a complaint without prejudice whenever
a prisoner brings a prison conditions claim without demonstrating
that he has exhausted his administrative remedies. Brown v.
Toombs, 139 F.3d llU2 (6th Cir. 1998); ppg Porter v. Nussle, 534
U.S. 516, 532 (2002) (“[T]he PLRA’s exhaustion requirement applies
to all inmate suits about prison life, whether they involve general
circumstances or particular episodes, and. whether they allege
excessive force or some other wrong.”); Booth v. Churner, 532 U.S.
731 (2001) (prisoner seeking only money damages must exhaust
administrative remedies even though damages are unavailable through
grievance system). This requirement places an affirmative burden
on prisoners of pleading particular facts demonstrating the

complete exhaustion of claims. Knuckles El v. Toombs, 215 F.3d 640,

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642 (6th Cir. 2000). In order to comply with the mandates of 42
U.S.C. § l99?e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
ldp at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002)
(prisoner who fails to adequately allege exhaustion may not amend
his complaint to avoid a ppg sponte dismissal); Curry v. Scott, 249
F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for
district court to dismiss for failure to exhaust when plaintiffs
did not submit documents showing complete exhaustion of their
claims or otherwise demonstrate exhaustion). Furthermore, §
l997(e) requires the prisoner to exhaust his administrative
remedies prior to filing suit and, therefore,r he cannot exhaust
these remedies during the pendency of the action. Freeman v.
Francis, 196 F.3d 641, 645 (6th Cir. 1999).

fn this case, the plaintiff has not satisfied his burden of
demonstrating, through particularized averments, that he exhausted
his administrative remedies with respect to any of his claims.
After indicating that the Jail has no grievance procedure, he
alleges that he submitted the “required form at least 3 times a
week” but received no answer. Harris' reference to the “required
form” pertains only to his medical treatment claim. He details no

attempts to file a grievance about the denial of law books,

confiscation of his legal mail, or denial of cleaning supplies. He

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merely states that the Jail “will not give you a grievance to file
against them.”

In Baxter, the Sixth Circuit held that “[a] plaintiff who
fails to allege exhaustion of administrative remedies through
‘particularized averments’ does not state a claim on which relief
may be granted, and his complaint must be dismissed spa sponte.”
Baxter, 305 F.3d at 489. Accordingly, the Court DISMISSES the
complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ l997e(a).2
lll. Appeal lssues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fp;ma pauperis. Twenty~eight
U.S.C. § l9lB(a)(3) provides that an appeal may not be taken ip
fp;ma pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). Under Brown v. Toombs, an
appellate court must dismiss a complaint if a prisoner has failed
to comply with § l997e's exhaustion requirements. Accordingly, if
a district court determines that a complaint must be dismissed as
unexhausted, the plaintiff would not yet be able tO present an
issue in good faith on appeal because that appeal would also be
subject to immediate dismissal. Thus, the same considerations

that lead the Court to dismiss this case for failure to exhaust

 

2 As the Sixth Circuit explained, “lf the plaintiff has exhausted his

administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” Id.

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administrative remedies compel the conclusion that an appeal would
not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith and plaintiff may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case.3 ln McGore v.
Wrigglesworth, ll4 F.3d 601, 610-ll (6th Cir. 1997), the Sixth
Circuit set out specific procedures for implementing the PLRA.
Therefore, the plaintiff is instructed that if he wishes to take
advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in McGore

and § 1915(b).

IT lS SO ORDERED this day of June, 2005.

 

. ANIEL BREEN \\
Nl ED STATES DISTRICT JUDGE

 

3 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, l l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon, the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02971 Was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Curtis Ray Harris

WEST TENNESSEE STATE PENITENTIARY
300439

P.O. Box l 150

Henning, TN 38041--] 15

Honorable J. Breen
US DISTRICT COURT

